                             Case 19-12551-CSS                       Doc 1        Filed 12/01/19             Page 1 of 21

Fill in this information to identify the case:

United States Bankruptcy Court for the:
                              District of Delaware
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/19
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Anna Holdings, Inc.


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          6600 Corporate Center Parkway
                                          Number            Street                                    Number         Street


                                                                                                      P.O. Box

                                          Jacksonville, FL 32216
                                          City                            State      Zip Code         City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Duval
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 www.acosta.com

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:



      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
                               Case 19-12551-CSS              Doc 1         Filed 12/01/19            Page 2 of 21
Debtor            Anna Holdings, Inc.                                             Case number (if known)
           Name



                                           A. Check One:
7.   Describe debtor’s business
                                           ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                           ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                           ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                           ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                           ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                           ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           ☒ None of the above

                                           B. Check all that apply:
                                           ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                           ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                           ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                           5511 (Management of Companies and Enterprises)

8. Under which chapter of the              Check One:
   Bankruptcy Code is the
   debtor filing?                          ☐ Chapter 7

                                           ☐ Chapter 9

                                           ☒ Chapter 11. Check all that apply:

                                                             ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                               insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                               4/01/22 and every 3 years after that).
                                                             ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                               debtor is a small business debtor, attach the most recent balance sheet, statement
                                                               of operations, cash-flow statement, and federal income tax return, or if all of these
                                                               documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             ☒ A plan is being filed with this petition.

                                                             ☒ Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).
                                                             ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                               Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                             ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                           ☐ Chapter 12

9. Were prior bankruptcy cases          ☒ No
   filed by or against the debtor       ☐ Yes.    District                           When                      Case number
   within the last 8 years?                                                                   MM/DD/YYYY
     If more than 2 cases, attach a               District                           When                      Case number
     separate list.                                                                           MM/DD/YYYY

10. Are any bankruptcy cases            ☐ No
    pending or being filed by a         ☒ Yes.                                                                 Relationship     Affiliate
                                                  Debtor      See Rider 1
    business partner or an
    affiliate of the debtor?                      District    District of Delaware
     List all cases. If more than 1,                                                                           When            12/01/2019
     attach a separate list.                      Case number, if known _______________________                                MM / DD / YYYY



     Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
                             Case 19-12551-CSS                   Doc 1        Filed 12/01/19             Page 3 of 21
Debtor           Anna Holdings, Inc.                                                Case number (if known)
          Name



11. Why is the case filed in this       Check all that apply:
    district?
                                        ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.
                                        ☐    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have         ☒ No
    possession of any real              ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                          Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                  ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                        safety.
                                                        What is the hazard?

                                                  ☐     It needs to be physically secured or protected from the weather.

                                                    ☐   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).
                                                  ☐     Other


                                                  Where is the property?
                                                                                       Number          Street



                                                                                       City                                  State       Zip Code



                                                  Is the property insured?
                                                  ☐ No

                                                  ☐ Yes.     Insurance agency

                                                             Contact name
                                                             Phone




                       Statistical and administrative information

13. Debtor's estimation of             Check one:
    available funds
                                       ☒ Funds will be available for distribution to unsecured creditors.
                                       ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of                ☐     1-49                       ☐     1,000-5,000                        ☐    25,001-50,000
    creditors (on a                    ☐     50-99                      ☐     5,001-10,000                       ☒    50,001-100,000
    consolidated basis)                ☐     100-199                    ☐     10,001-25,000                      ☐    More than 100,000
                                       ☐     200-999



15. Estimated assets (on a             ☐     $0-$50,000                 ☐     $1,000,001-$10 million              ☒   $500,000,001-$1 billion
    consolidated basis)                ☐     $50,001-$100,000           ☐     $10,000,001-$50 million             ☐   $1,000,000,001-$10 billion
                                       ☐     $100,001-$500,000          ☐     $50,000,001-$100 million            ☐   $10,000,000,001-$50 billion
                                       ☐     $500,001-$1 million        ☐     $100,000,001-$500 million           ☐   More than $50 billion




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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Debtor            Anna Holdings, Inc.                                                  Case number (II known)
          Name




18. Estimated llabllltlea (on           •      $0-$50,000                   D    $1,000,001-$10 million               D $500,000,001-$1 billion
    a consolidated basis)               •      $50,001-$100,000             D    $10,000,001-$50 million              181 $1,000,000,001-$1 O billion
                                        •      $100,001-$500,000            D    $50,000,001-$100 million             •   $10,000,000,001-$50 billion
                                        D      $500,001-$1 million          D    $100,000,001-$500 million            •   More than $50 billion

                    Requeat for Relief, Declaration, and Signatures

WARNING -        Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                 $500,000 or Imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of            petition.
    debtor
                                            I have been authorized to file this petition on behalf of the debtor.
                                            I have examined the information in this petition and have a reasonable belief that the Information is true and
                                            correct.

                                   I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on             12/01/2019



                                                                                                                    Matthew D. Laurie
                                                                                                                Printed name

                                                 Title    Interim Chief Flnanclal Officer




18. Signature of attorney                                                                                                  12/01/2019
                                                                                                                          MM/DDNYYY



                                                 Domenic E. Pacitti
                                                 Printed name
                                                 Klahr Harriaon Harvey Branzburg LLP
                                                 Firm name
                                                 919 N. Market Streat, Suite 1000
                                                 Number                  Street
                                                 WIimington                                                           Delaware             19801
                                                 City                                                                 State               ZIP Code
                                                 (302) 426-1189                                                       dpaclttl@klehr.com
                                                 Contact phone                                                            Email address
                                                 3989                                                Delaware
                                                 Bar number                                          State




    Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page4
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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
                              District of Delaware
                                       (State)                                                       ☐ Check if this is an
 Case number (if known):                             Chapter   11                                        amended filing

                                                     Rider 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor
        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the District of Delaware for relief under chapter 11 of title 11 of the United States Code.
The Debtors have moved for joint administration of these cases under the case number assigned to the chapter 11
case of Anna Holdings, Inc.


         •    Anna Holdings, Inc.                              •    ADW Acosta, LLC
         •    AC Holdings, Inc.                                •    ADW UK, LLC
         •    Acosta Frontline, LLC                            •    AMG Marketing Services, LLC
         •    Acosta Military International, Inc.              •    Anna Acquisition Company, Inc.
         •    Acosta Military Sales, LLC                       •    Mosaic Canada Holdings Inc.
         •    Acosta Services, Inc.                            •    Mosaic Employee Holdco, LLC
         •    Acosta Subsidiary Holdings, Inc.                 •    Mosaic Parent Holdings Inc.
         •    Acosta UK Holdings, LLC                          •    Mosaic Sales Solutions US Operating Co., LLC
         •    Acosta, Inc.                                     •    The Vine Direct Agency, LLC
         •    ActionLink Services, LLC                         •    Vine Parent Holdings, LLC
                      Case 19-12551-CSS                   Doc 1          Filed 12/01/19            Page 6 of 21



                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )      Chapter 11
                                                                     )
    ANNA HOLDINGS, INC.,                                             )      Case No. 19-[_____] (___)
                                                                     )
                                  Debtor.                            )
                                                                     )

                                          LIST OF EQUITY SECURITY HOLDERS1

               Equity Holders                                Address of Equity Holder                            Percentage of
              (Type of Holding)                                                                                   Equity Held
                                                           Common Stock
                                                               520 Madison Avenue
     Carlyle Partners VI Holdings, L.P.                                                                               78.47%
                                                               New York, NY 10022
                                                            280 Park Avenue, 9th Floor
         Viggo Investment Pte. Ltd.                                                                                   16.93%
                                                               New York, NY 10017
             Anderson, Robert W.                                    Redacted2                                         0.47%
      Chartrand, Gary R. Revocable
                                                                         Redacted                                     0.46%
                     Trust
       Hill, Robert E., Jr. Irrevocable
                                                                         Redacted                                     0.44%
                     Trust
    Hill, Robert E., Jr. Revocable Trust                                 Redacted                                     0.42%
             Gronowski, Jamie S.                                         Redacted                                     0.39%
                Parker, John H.                                          Redacted                                     0.34%
           Weisenburger, Randall                                         Redacted                                     0.28%
         King, R. Brian GST Exempt
                                                                         Redacted                                     0.23%
               Irrevocable Trust
               Baldwin, Brian D.                                         Redacted                                     0.14%
                 Krabbe, Morris                                          Redacted                                     0.13%
              Cohenour, Franklin                                         Redacted                                     0.12%
                 Tracey, Aidan                                           Redacted                                     <0.10%
                 King, R. Brian                                          Redacted                                     <0.10%
               Wilson, Dana M.                                           Redacted                                     <0.10%
               Barnard, Todd C.                                          Redacted                                     <0.10%
              Wick, John G., Jr.                                         Redacted                                     <0.10%
                Lewis, Sean B.                                           Redacted                                     <0.10%
             Ramsey, Sandra C.                                           Redacted                                     <0.10%
                 Bissen, Karl S.                                         Redacted                                     <0.10%
               Henson, Randall                                           Redacted                                     <0.10%
          Schwinkendorf, David A.                                        Redacted                                     <0.10%
                Stovin, Mark B.                                          Redacted                                     <0.10%
               Moores, Brian T.                                          Redacted                                     <0.10%
                  Schick, Drew                                           Redacted                                     <0.10%
              Laurie, Matthew D.                                         Redacted                                     <0.10%
                 Smith, Brad L.                                          Redacted                                     <0.10%

1
       This list serves as the disclosure required to be made by the debtor pursuant to rule 1007(a)(3) of the Federal Rules of Bankruptcy
       Procedure. All equity positions listed are as of July 31, 2019.

2
       Address information for individual holders has been redacted to maintain confidentiality.
            Case 19-12551-CSS     Doc 1   Filed 12/01/19      Page 7 of 21



         Equity Holders            Address of Equity Holder            Percentage of
       (Type of Holding)                                                Equity Held
Peverley, Jr., Malcolm W. (Ned)           Redacted                        <0.10%
         Tater, Jeffrey L.                Redacted                        <0.10%
Tschumper, Mary J. Revocable                                              <0.10%
                                          Redacted
              Trust
      Gennaro, Joseph L.                  Redacted                           <0.10%
     McEachran,Shawn B.                   Redacted                           <0.10%
Ard, Richard W. and Cynthia M.
                                          Redacted                           <0.10%
         Ard Living Trust
       Straub, Sharon K.                  Redacted                           <0.10%
        Neilson, Chris V.                 Redacted                           <0.10%
   Rodenbush, Daniel J., Jr.              Redacted                           <0.10%
         Swan, Mark S.                    Redacted                           <0.10%
        Prewitt, Dane A.                  Redacted                           <0.10%
       Roberts, Jonathan                  Redacted                           <0.10%
       Anthony, Sean M.                   Redacted                           <0.10%
         Young, Brian R.                  Redacted                           <0.10%
      Bresnahan, Timothy                  Redacted                           <0.10%
          Rose, John D.                   Redacted                           <0.10%
        McKenna, Shaun                    Redacted                           <0.10%
           Rogers, Jeff                   Redacted                           <0.10%
         Karst, Danny R.                  Redacted                           <0.10%
     Collins, Marshall J., III            Redacted                           <0.10%
         Pickett, Darian                  Redacted                           <0.10%
        Cline, Andrew O.                  Redacted                           <0.10%
      Christopher, Steven                 Redacted                           <0.10%
       Marmo, James M.                    Redacted                           <0.10%
        Shaner, Robert J.                 Redacted                           <0.10%
        Schofield, Robin                  Redacted                           <0.10%
      Lightfoot, Timothy S.               Redacted                           <0.10%
           Scott, Karen                   Redacted                           <0.10%
      Suhling, Timothy C.                 Redacted                           <0.10%
        Eckart, Joyce M.                  Redacted                           <0.10%
     Cashman, Donald G.                   Redacted                           <0.10%
         Setter, Allan D.                 Redacted                           <0.10%
          Melo, Jose A.                   Redacted                           <0.10%
        George, Peter L.                  Redacted                           <0.10%
     Stehouwer, Thomas J.                 Redacted                           <0.10%
      Lewis, James H., Jr.                Redacted                           <0.10%
        Pezza, Glenn A.                   Redacted                           <0.10%
     Poffenroth, Douglas J.               Redacted                           <0.10%
      Damiano, Joseph L.                  Redacted                           <0.10%
         Carroll, Craig A.                Redacted                           <0.10%
          Pruett, Jeffrey                 Redacted                           <0.10%
        Puttrich, Michael                 Redacted                           <0.10%
          Lee, Jonathan                   Redacted                           <0.10%
       Patterson, Kyle M.                 Redacted                           <0.10%
       Barnett, Robert L.                 Redacted                           <0.10%
     Hermsen, Stephen J.                  Redacted                           <0.10%
        Homiak, Greg R.                   Redacted                           <0.10%
         Smith, David A.                  Redacted                           <0.10%
      Haworth, Steven R.                  Redacted                           <0.10%
    Chartrand, Marc-Andre                 Redacted                           <0.10%
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      Equity Holders           Address of Equity Holder            Percentage of
    (Type of Holding)                                               Equity Held
    Hamm, II, John W.                 Redacted                        <0.10%
  Derenda, Kathleen C.                Redacted                        <0.10%
      French, Richard                 Redacted                        <0.10%
      Chandler, Kathy                 Redacted                        <0.10%
     Morris, Andrew J.                Redacted                        <0.10%
        Kava, Brian                   Redacted                        <0.10%
    Rolling, Carlton R.               Redacted                        <0.10%
    Prussia, Jeremy G.                Redacted                        <0.10%
   McDaniel, Russell A.               Redacted                        <0.10%
    Davisson, Mark K.                 Redacted                        <0.10%
Mathewson, Christopher R.             Redacted                        <0.10%
 VanderHorst, Douglas A.              Redacted                        <0.10%
     Thresher, Alan D.                Redacted                        <0.10%
      Dixon, Mark A.                  Redacted                        <0.10%
   McGill, III, William B.            Redacted                        <0.10%
  McCarthy, Christopher               Redacted                        <0.10%
       Kroll, David C.                Redacted                        <0.10%
      Smith, Robert J.                Redacted                        <0.10%
    Ruffolo, Andrew A.                Redacted                        <0.10%
       Yoder, Kent B.                 Redacted                        <0.10%
   Bouchard, Lee-Anne                 Redacted                        <0.10%
     Lee, Christine J.                Redacted                        <0.10%
   Crosslin, Joshua G.                Redacted                        <0.10%
     Toole, Daniel W.                 Redacted                        <0.10%
  McGoldrick, Michael S.              Redacted                        <0.10%
   Williams, Melinda K.               Redacted                        <0.10%
    Fargason, John L.                 Redacted                        <0.10%
   Beauregard, Paul M.                Redacted                        <0.10%
     Wood, Howard I.                  Redacted                        <0.10%
       Dobi, Kerri R.                 Redacted                        <0.10%
   Glackin, Richard M.                Redacted                        <0.10%
      Galvin, Michael                 Redacted                        <0.10%
     Shurrie, Thomas                  Redacted                        <0.10%
     Greer, John F. II                Redacted                        <0.10%
       Lee, Roger C.                  Redacted                        <0.10%
     Hagerty, Gary B.                 Redacted                        <0.10%
     Shaw, Randall B.                 Redacted                        <0.10%
     White, James R.                  Redacted                        <0.10%
    Reynolds, Laura J.                Redacted                        <0.10%
   Goodyear, Sylvia H.                Redacted                        <0.10%
   Johnson, Michael E.                Redacted                        <0.10%
   Gideon, Pamela M.                  Redacted                        <0.10%
    Brune, Thomas L.                  Redacted                        <0.10%
    Kennedy, David M.                 Redacted                        <0.10%
     Mason, Karen A.                  Redacted                        <0.10%
         Eisnor, Jil                  Redacted                        <0.10%
       Michael, Todd                  Redacted                        <0.10%
     Miller, Timothy M.               Redacted                        <0.10%
    Morris, Jr., John E.              Redacted                        <0.10%
      Caruso, John V.                 Redacted                        <0.10%
     Wise, Matthew T.                 Redacted                        <0.10%
     Howell, Laura A.                 Redacted                        <0.10%
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   Equity Holders           Address of Equity Holder            Percentage of
  (Type of Holding)                                              Equity Held
 Hazelbach, William                Redacted                        <0.10%
   Allen, Patricia P.              Redacted                        <0.10%
       Louis, Will                 Redacted                        <0.10%
   Darmody, Kevin                  Redacted                        <0.10%
Woodburn, Kenneth A.               Redacted                        <0.10%
   Leek, Gordon E.                 Redacted                        <0.10%
 Scipione, Michael J.              Redacted                        <0.10%
   Kleiman, Cole H.                Redacted                        <0.10%
                Case 19-12551-CSS                 Doc 1   Filed 12/01/19        Page 10 of 21



                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                          )
 In re:                                                   )     Chapter 11
                                                          )
 ANNA HOLDINGS, INC.,                                     )     Case No. 19-[_____] (___)
                                                          )
                           Debtor.                        )
                                                          )

                                     CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the following are
corporations, other than a government unit, that directly or indirectly own 10% or more of any class of the debtor’s
equity interest:

                       Shareholder                                Approximate Percentage of Shares Held

             Carlyle Partners VI Holdings, L.P.                                       78.47%
                Viggo Investment Pte. Ltd.                                            16.93%
                   Case 19-12551-CSS              Doc 1       Filed 12/01/19        Page 11 of 21



                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                             )
    In re:                                                   )     Chapter 11
                                                             )
    ANNA HOLDINGS, INC.,                                     )     Case No. 19-[_____] (___)
                                                             )
                               Debtor.                       )
                                                             )

                                    CERTIFICATION OF CREDITOR MATRIX

          Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure for the United States
Bankruptcy Court for the District of Delaware, the above-captioned debtor and its affiliated debtors in possession
(collectively, the “Debtors”)1 hereby certify that the Creditor Matrix submitted contemporaneously herewith contains
the names and addresses of the Debtors’ creditors. To the best of the Debtors’ knowledge, the Creditor Matrix is
complete, correct, and consistent with Debtors’ books and records.

          The information contained herein is based upon a review of the Debtors’ books and records as of the petition
date. However, no comprehensive legal and/or factual investigations with regard to possible defenses to any claims
set forth in the Creditor Matrix have been completed. Therefore, the listing does not, and should not, be deemed to
constitute: (1) a waiver of any defense to any listed claims; (2) an acknowledgement of the allowability of any listed
claims; and/or (3) a waiver of any other right or legal position of the Debtors.




1
       Due to the large number of Debtors in these chapter 11 cases, for which joint administration has been requested,
       a complete list of the debtor entities and the last four digits of their federal tax identification numbers is not
       provided herein. A complete list may be obtained on the website of the Debtors’ proposed claims and noticing
       agent at https://cases.primeclerk.com/Acosta. The location of the Debtors’ service address is: 6600 Corporate
       Center Parkway, Jacksonville, Florida 32216.
                                                       Case 19-12551-CSS
Debtor __Anna Holdings, Inc., et al.,_________________________                                             Doc 1           Filed 12/01/19                  Page Case
                                                                                                                                                                 12number
                                                                                                                                                                     of 21(if known)_____________________________________




      Fill in this information to identify the case:
      Debtor name: Anna Holdings, Inc., et al.,
      United States Bankruptcy Court for the: District of Delaware
      Case number (If known): ______________                                                                                                                  Check if this is an amended
                                                                                                                                                               filing

      Official Form 204
      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
      Unsecured Claims and Are Not Insiders                                                                                                                                                                                    12/15
      A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity
      who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among
      the holders of the 30 largest unsecured claims.
      Name of creditor and complete mailing address,                 Name, telephone number, and             Nature of the claim (for    Indicate if claim is       Amount of unsecured claim
      including zip code                                             email address of creditor contact       example, trade debts,      contingent,                 if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                             bank loans,                unliquidated, or            If claim is partially secured, fill in total claim amount and
                                                                                                             professional services,     disputed                    deduction for value of collateral or setoff to calculate unsecured
                                                                                                             and government                                         claim.
                                                                                                             contracts)                                             Total claim, if         Deduction for         Unsecured claim
                                                                                                                                                                    partially secured      value of collateral
                                                                                                                                                                                           or setoff
    Wilmington Trust, National Association
    Attn: Corporate Capital Markets                                  Corporate Capital Markets
                                                                                                             Senior Notes Dated
  1 246 Goose Lane, Suite 105                                        Phone - (203) 453-4130                                              Unliquidated                                                             $800,000,000 + Interest
                                                                                                             September 26, 2014
    Guilford, CT 06437
    United States
    Action Link, LLC
  2                                                                                                           Seller Notes                                                                                        $         15,490,229.06
    Address on file
    Bey, Elijah                                                      Solomon Gresent, Esq.
    Attn: Solomon Gresent, Esq.                                      Jack Risemberg, Esq.
    Jack Risemberg, Esq.                                             Email - Gresent - Seg@Rglawyers.Com
  3 Counsel For Elijah Bey                                           Risemberg - Jr@Rglawyers.Com             Litigation                 Contingent, Unliquidated                                                 $          3,000,000.00
    15910 Ventura Blvd, Suite 1610                                   Phone - Gresent - 818-815-2727
    Encino, CA 91436                                                 Risemberg - 818-815-2727
    United States
    Pet Firm
  4 Attn: San Roman, Michael E                                                                                Seller Notes                                                                                        $          1,750,000.00
    Address on file
      Higgins Cohn Brand Management
      Attn: Patrick Higgins                                          Patrick Higgins
      President                                                      Email -
  5                                                                                                           Seller Notes                                                                                        $          1,540,000.00
      Box 291                                                        Phone - 905-856-8252
      Campbellville, ON L0P 1B0
      Canada
      Neilson, Chris V
  6                                                                                                           Deferred Compensation                                                                               $          1,159,771.46
      Address on file
      Hargrove Inc.
      Attn: Tim McGill                                               Tim McGill
      Chief Executive Officer                                        Email - timmcgill@hargroveinc.com
  7                                                                                                           Trade Payable                                                                                       $          1,135,700.71
      1 Hargrove Drive                                               Phone - 301-306-9000
      Lanham, MD 20706
      United States
      Raines, Boyd W
  8                                                                                                           Deferred Compensation                                                                               $          1,045,120.71
      Address on file
      SBR Partners
      Attn: Stanley Shapiro
  9   10 E Merrick Rd, Suite 305                                     Stanley Shapiro                          Seller Notes                                                                                        $            952,000.00
      Valley Stream, NY 11580
      United States
    Trevino, Rudy
    Attn: James Fitzpatrick, Esq.                                    James Fitzpatrick, Esq.
    Fitzpatrick, Spini & Swanston                                    Fitzpatrick, Spini & Swanston
 10 Counsel for Rudy Trevino                                         Email - jfitzpatrick@fandslegal.com      Litigation                                                                                          $            900,000.00
    555 S Main Street                                                Phone - 831-755-1311
    Salinas, CA 93901
    United States
      Optimad Media, LLC
      Attn: Kevin Weisberg                                           Kevin Weisberg
      CEO                                                            Email - kevin@optimadmedia.com
 11                                                                                                           Trade Payable                                                                                       $            875,558.90
      13217 Jamboree Rd                                              Phone - 213-545-1123
      Tustin, CA 92782
      United States
      Rodriguez Bas, Alejandro
 12                                                                                                           Severance                                                                                           $            749,999.97
      Address on file
      Gennaro, Joseph L
 13                                                                                                           Deferred Compensation                                                                               $            697,548.71
      Address on file
      Sales Results Inc.
 14   Attn: Kent Pilakowski                                                                                   Seller Notes                                                                                        $            686,284.00
      Address on file
      CFM Services Inc.
                                                                     Renette Visagie
      Attn: Renette Visagie
                                                                     Email - ranettev@cinci.rr.com
 15   1240 Nordica Lane                                                                                       Seller Notes                                                                                        $            637,500.00
                                                                     Phone - 513-474-1582
      Cincinnati, OH 45255
      United States
      James Mattson
 16                                                                                                           Seller Notes                                                                                        $            600,000.00
      Address on file
      Prewitt, Dane Alan
 17                                                                                                           Deferred Compensation                                                                               $            597,776.88
      Address on file



Official Form 204                                                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                  page 1
                                                  Case 19-12551-CSS
Debtor __Anna Holdings, Inc., et al.,_________________________                                    Doc 1           Filed 12/01/19                   Page Case
                                                                                                                                                         13number
                                                                                                                                                             of 21(if known)_____________________________________




      Name of creditor and complete mailing address,         Name, telephone number, and             Nature of the claim (for    Indicate if claim is    Amount of unsecured claim
      including zip code                                     email address of creditor contact       example, trade debts,      contingent,              if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                     bank loans,                unliquidated, or         If claim is partially secured, fill in total claim amount and
                                                                                                     professional services,     disputed                 deduction for value of collateral or setoff to calculate unsecured
                                                                                                     and government                                      claim.
                                                                                                     contracts)                                          Total claim, if         Deduction for         Unsecured claim
                                                                                                                                                         partially secured      value of collateral
                                                                                                                                                                                or setoff
    McIntyre, David J
 18                                                                                                  Deferred Compensation                                                                             $           594,398.19
    Address on file
    Pulse LTD LLC
    Attn: Jeffrey Maguire                                    Jeffrey Maguire
    Chief Executive Officer                                  Email - jmaguire@pulsellc.com
 19                                                                                                  Trade Payable                                                                                     $           580,600.90
    12628 Chillicothe Rd, Unit H                             Phone - 800-570-0482
    Chesterland, OH 44026
    United States
      Liam 2004 Films LLC
      Attn: Afredo Rodriguez De Villa
                                                             Afredo Rodriguez De Villa
      Member
 20                                                          Phone - 917-749-2244                    Trade Payable                                                                                     $           503,949.75
      640 Vernon Ave
      Venice, CA 90291
      United States
      Lightfoot, Timothy Scott
 21                                                                                                  Deferred Compensation                                                                             $           472,983.34
      Address on file
      Gronowski, Jamie S
 22                                                                                                  Deferred Compensation                                                                             $           458,948.80
      Address on file
      Amthor, Teri Deluca
 23                                                                                                  Deferred Compensation                                                                             $           456,794.93
      Address on file
      Johnson, David L
 24                                                                                                  Deferred Compensation                                                                             $           403,775.66
      Address on file
      McDaniel, David Franklin
 25                                                                                                  Deferred Compensation                                                                             $           387,185.05
      Address on file
      The Nielsen Company
      Attn: David Kenny
                                                             David Kenny
      Chief Executive Officer
 26                                                          Email - David.Kenny@nielsen.com         Trade Payable                                                                                     $           378,916.67
      200 W Jackson Blvd
      Chicago, IL 60606
      United States
    Hebert Holdings, Inc.
 27 Attn: Derick Hebert                                                                              Seller Notes                                                                                      $           375,000.00
    Address on file
    Dean Foods
                                                             Leon Carter, Esq., Carter Arnett PLLC
    Attn: Leon Carter, Esq., Carter Arnett PLLC
                                                             Email - Lcarter@Carterarnett.Com                                   Contingent,
 28 8150 N Central Pkwy, Suite 500                                                                   Litigation                                                                                        Undetermined
                                                             Phone - 214-550-8188                                               Unliquidated, Disputed
    Dallas, TX 75206
    United States
    Coyle, Amber (Plaintiff), et. al.
    Attn: Peter Hart                                         Peter Hart
    Law Offices of Peter Hart                                Email - hartpeter@msn.com                                          Contingent,
 29                                                                                                  Litigation                                                                                        Undetermined
    12121 Wilshire Blvd, Suite 725                           Phone - 310-478-5789                                               Unliquidated, Disputed
    Los Angeles, CA 90025                                    Fax - 509-561-6441
    United States
    Pension Benefit Guaranty Corporation
    Attn: Patricia Kelly                                     Patricia Kelly
    Chief Financial Officer                                  Email - pbgcpublicaffairs@pbgc.gov                                 Contingent,
 30                                                                                                  Pension                                                                                           Undetermined
    1200 K Street, NW                                        Phone - 202-326-4110                                               Unliquidated, Disputed
    Washington, DC 20005                                     Fax - 202-229-4047
    United States




Official Form 204                                                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                              page 2
                                Case 19-12551-CSS                                          Doc 1                Filed 12/01/19                             Page 14 of 21




                                       •
    Debtor Name                 Anna Holdiniis, Inc.

    United States Bankruntcv Court for the:                                     Dislricl or Delaware
                                                                                                                                               (State)
    Case number (If known\:



Official Form 202
Declaration Under Penalty of Periury for Non-Individual Debtors                                                                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual's position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011 .

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


-               Oeclaratlon and signature

             I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
             partnership; or another individual serving as a representative of the debtor in this case.

             I have examined the information in the documents checked below and I have a reasonable belief that the information is true
             and correct:

       •       Schedule AIB: Assets-Real and Personal Property (Official Form 206AIB)
       •       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       •       Schedule EIF: Creditors Wlo Have Unsecured Claims (Official Form 206EIF)
       •       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
       •       Schedule H: Codebtors (Official Form 206H)
       •       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
       •       Amended Schedule
       181     Chapter 11 or Chapter g Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
               (Official Form 204)
       181     Other document that requires a declaration.,....,..._ _--'L,,,i,,.,st'-"o::.:.f--=E,.,,q..,,,u.,_,_
                                                                                                               ity._.:::
                                                                                                                      S.,,,ec,.,t""
                                                                                                                                 ir.,_,_ity._.wH::eco,.,,
                                                                                                                                                    ld""e,_,,rs,..,__,.C"'o'-'rp""o""'ra,,_,t""e__,Oe.,w""n.,,e"'rs,,,.,h=ip
               Statement, and Certification of Creditor Matrix


     I declare under penalty of perjury that the foregoing is true and correct.

      Executed on
                                                         12/01/2019
                                                       MM/DDNYYY                                                      Slgnatur


                                                                                                                      Printed name
                                                                                                                      Interim Chief Flnanclal Officer
                                                                                                                      Position or relationship to debtor

Official Form 202                                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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   RESOLUTIONS APPROVED AT A JOINT MEETING OF THE BOARD OF
MANAGERS, BOARD OF DIRECTORS, THE SOLE MEMBER, OR THE MANAGING
                   MEMBER, AS APPLICABLE, OF
                          ACOSTA, INC.
                     ACOSTA FRONTLINE, LLC
             ACOSTA MILITARY INTERNATIONAL, INC.
                  ACOSTA MILITARY SALES, LLC
                      ACOSTA SERVICES, INC.
               ACOSTA SUBSIDIARY HOLDINGS, INC.
                   ACTIONLINK SERVICES, LLC
                        ADW ACOSTA, LLC
                          ADW UK, LLC
                 AMG MARKETING SERVICES, LLC
                       ANNA HOLDINGS, INC.
                ANNA ACQUISITION COMPANY, INC.
                 MOSAIC CANADA HOLDINGS INC.
                 MOSAIC EMPLOYEE HOLDCO, LLC
                  MOSAIC PARENT HOLDINGS INC.
          MOSAIC SALES SOLUTIONS US OPERATING CO., LLC
                  THE VINE DIRECT AGENCY, LLC
                   VINE PARENT HOLDINGS, LLC
                    ACOSTA UK HOLDINGS, LLC
                              AND
                        AC HOLDINGS, INC.

                                       December 1, 2019

The following resolutions were approved at a joint meeting (the “Meeting”) of the board of
managers, board of directors, the sole member, or the managing member, as
applicable (each, a “Governing Body”) of each entity set forth on Schedule I attached hereto
(each, a “Company,” and, collectively, the “Companies”).

                                       RESOLUTIONS



WHEREAS, each Governing Body has considered presentations by the management and the
financial and legal advisors of each Company regarding the liabilities and liquidity of each
Company, the strategic alternatives available to it, and the impact of the foregoing on each
Company’s business;

WHEREAS, each Governing Body has had the opportunity to consult with each Company’s
management and the financial and legal advisors to the Companies and fully consider each of the
strategic alternatives available to the Companies;

WHEREAS, each Governing Body has reviewed and considered presentations by the management
and the financial and legal advisors of each Company regarding that certain restructuring support
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agreement (as amended, restated, and supplemented from time to time, the “Restructuring Support
Agreement”) and the transactions contemplated therein;

WHEREAS, each Governing Body has reviewed and considered presentations by the management
and the financial and legal advisors of each Company regarding the advantages and disadvantages
to each Company soliciting acceptances of the prepackaged chapter 11 plan of reorganization
contemplated by the Restructuring Support Agreement (as amended, restated, and supplemented
from time to time, the “Plan”); and

WHEREAS, the Restructuring Support Agreement provides that it can be terminated if a
Governing Body determines in good faith, after consulting with counsel, that proceeding with the
transactions contemplated thereby would be inconsistent with the exercise of its fiduciary duties
or applicable law.

NOW, THEREFORE, BE IT,

Entry into Restructuring Support Agreement and Solicitation of the Plan.

RESOLVED, that in the business judgment of each Governing Body, it is desirable and in the best
interests of each Company, its equityholders, its creditors, and other parties in interest to enter into
the Restructuring Support Agreement and to commence solicitation of the Plan pursuant to sections
1125(g) and 1126(b) of the Bankruptcy Code and rule 3018(b) of the Federal Rules of Bankruptcy
Procedure, and that each Company’s performance of its obligations under the Restructuring
Support Agreement and the solicitation of votes in favor of the Plan be and hereby is, in all
respects, authorized and approved.

RESOLVED, that the Interim Chief Financial Officer or Chief Financial Officer, as applicable, or
any other duly appointed officer of each Company (collectively, the “Authorized Signatories”),
acting alone or with one or more other Authorized Signatories be, and they hereby are, authorized,
empowered, and directed to execute the Restructuring Support Agreement on behalf of the
Companies, perform all the transactions contemplated thereby, including commencing solicitation
of the Plan.

Chapter 11 Filing

RESOLVED, that in the business judgment of each Governing Body, it is desirable and in the best
interests of each Company, its equityholders, its creditors, and other parties in interest that each
Company shall be, and hereby is, in all respects, authorized to file, or cause to be filed, a voluntary
petition for relief (the “Chapter 11 Case”) under the provisions of chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”) in the bankruptcy court for the District of Delaware
(the “Bankruptcy Court”) and any other petition for relief or recognition or other order that may
be desirable under applicable law in the United States.

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized,
empowered, and directed to execute and file on behalf of each Company all petitions, schedules,
lists, and other motions, papers, or documents, and to take any and all action that they deem
necessary or proper to obtain such relief, including, without limitation, any action necessary to
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maintain the ordinary course operation of each Company’s business.

RESOLVED, that all acts and deeds previously performed by any of the officers of the Companies
prior to the adoption of the foregoing recitals and resolutions that are within the authority conferred
by the foregoing recitals and resolutions, are hereby ratified, confirmed, and approved in all
respects as the authorized acts and deeds of the Companies.

Retention of Professionals

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the law firm of Kirkland & Ellis LLP and Kirkland & Ellis International LLP
(together, “Kirkland”) as general bankruptcy counsel to represent and assist each Company in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance each
Company’s rights and obligations, including filing any motions, objections, replies, applications,
or pleadings; and in connection therewith, each of the Authorized Signatories, with power of
delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
services of Kirkland.

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the law firm of Klehr Harrison Harvey Branzburg LLP (“Klehr”) as local
bankruptcy counsel to represent and assist each Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance each Company’s rights and
obligations, including filing any motions, objections, replies, applications, or pleadings; and in
connection therewith, each of the Authorized Signatories, with power of delegation, is hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and
to cause to be filed an appropriate application for authority to retain the services of Klehr.

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the firm of Alvarez & Marsal North America, LLC (“A&M”) to provide interim
management services to represent and assist each Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance each Company’s rights and
obligations; and in connection therewith, each of the Authorized Signatories, with power of
delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
services of A&M.

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the firm of PJT Partners LP (“PJT”), as financial advisor and investment banker
to represent and assist each Company in carrying out its duties under the Bankruptcy Code, and to
take any and all actions to advance each Company’s rights and obligations; and in connection
therewith, each of the Authorized Signatories, with power of delegation, is hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
filed an appropriate application for authority to retain the services of PJT.

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the firm of Prime Clerk LLC (“Prime Clerk”) as notice and claims agent to
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represent and assist each Company in carrying out its duties under the Bankruptcy Code, and to
take any and all actions to advance each Company’s rights and obligations; and in connection
therewith, each of the Authorized Signatories, with power of delegation, is hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
filed appropriate applications for authority to retain the services of Prime Clerk.

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the firm of PricewaterhouseCoopers LLP (“PwC”), as tax consultant to
represent and assist each Company in carrying out its duties under the Bankruptcy Code, and to
take any and all actions to advance each Company’s rights and obligations; and in connection
therewith, each of the Authorized Signatories, with power of delegation, is hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
filed an appropriate application for authority to retain the services of PwC.

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the law firm of Katten Muchin Rosenman (“Katten”), as counsel to the
disinterested directors to represent and assist the disinterested directors in investigating and
determining whether any matter arising in or related to the transactions contemplated by the
Restructuring Support Agreement constitute a conflict matter; and in connection therewith, each
of the Authorized Signatories, with power of delegation, is hereby authorized and directed to
execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed an
appropriate application for authority to retain the services of Katten.

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ any other professionals to assist each Company in carrying out its duties under
the Bankruptcy Code; and in connection therewith, each of the Authorized Signatories, with power
of delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers and fees, and to cause to be filed an appropriate application for authority to
retain the services of any other professionals as necessary.

RESOLVED, that each of the Authorized Signatories be, and they hereby are, with power of
delegation, authorized, empowered, and directed to execute and file all petitions, schedules,
motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
and retain all assistance by legal counsel, accountants, financial advisors, and other professionals
and to take and perform any and all further acts and deeds that each of the Authorized Signatories
deem necessary, proper, or desirable in connection with each Company’s Chapter 11 Case, with a
view to the successful prosecution of such case.

Debtor-In-Possession Financing, Cash Collateral and Adequate Protection

RESOLVED, that in the judgment of the Governing Body of each Company, each Company will
receive benefits from the DIP Credit Agreement (as defined below) and the Loans contemplated
thereunder, and it is desirable and in the best interest of each Company, each Company’s interest
holders, creditors and other parties in interest that the form, terms and provisions of (i) that
certain Superpriority Secured Debtor-in-Possession Credit Agreement, together with any and all
exhibits, schedules and annexes thereto (the “DIP Credit Agreement”), by and among the
Companies party thereto, each Lender from time to time party thereto and Ankura Trust
                                                 4
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Company, LLC, as administrative agent and collateral agent and (ii) the Loan Documents (as
defined in the DIP Credit Agreement) to which any or all of the Companies are a party, and all
other documents, agreements, instruments or certificates, intellectual property security
agreements, joinders, and consents to be executed, delivered or filed by each Company in
connection therewith, and the transactions contemplated by the DIP Credit Agreement and the
other Loan Documents (in each case including, without limitation, the borrowings and other
extensions of credit thereunder, and the guaranties, liabilities, obligations, security interest
granted and notes issued, if any, in connection therewith) be, and hereby are, authorized, adopted
and approved in substantially the form presented to the Governing Bodies, together with such
changes as may be approved by the Authorized Signatories executing and delivering the same,
such approval to be conclusively evidenced by such Authorized Signatory’s execution and
delivery thereof.

RESOLVED, that the Governing Body of each Company has determined that it is necessary and
in the best interest of each such Company’s business and affairs, each Company’s interest
holders, creditors and other parties in interest that the form, terms and provisions of (i) that
certain Superpriority Secured Debtor-in-Possession Credit Agreement, in substantially the form
presented to the Governing Bodies for each such Company to execute, deliver and perform the
DIP Credit Agreement and the other Loan Documents to which it is a party, to perform such
Company’s obligations thereunder and to consummate the transactions contemplated thereby,
including, without limitation, any borrowings, the performance of any guarantees and the
granting of any security interests and liens, and each Company’s execution and delivery of, and
the incurrence and performance of its obligations in connection with the DIP Credit Agreement,
including without limitation, the guarantee of the Obligations (as defined in the DIP Credit
Agreement) thereunder, and any other Loan Document to which it is a party, and the
consummation of the transactions contemplated thereby or entered into in connection with the
Loan Documents, including, without limitation, any borrowing by any Company under the Loan
Documents, are hereby, in all respects, authorized and approved.

RESOLVED, that each Company will obtain benefits from the use of collateral, including cash
collateral, as that term is defined in section 363(a) of the Bankruptcy Code (the “Cash Collateral”),
which is security for certain prepetition secured lenders (collectively, the “Secured Lenders”) party
to that certain Credit Agreement, dated as of September 26, 2014 (as amended from time to time),
by and among Acosta, Inc. as Borrower, Anna Acquisition as Holdings, and the lenders party
thereto, with JPMorgan Chase Bank, N.A. as administrative agent and collateral agent.

RESOLVED, that in order to use and obtain the benefits of the Cash Collateral, and in
accordance with section 363 of the Bankruptcy Code, each Company will provide certain liens,
claims, and adequate protection to the Secured Lenders (the “Adequate Protection Obligations”),
as documented in a proposed interim order authorizing and approving the DIP Credit Agreement,
the other Loan Documents and the transactions contemplated thereby (the “Interim DIP Order”)
and submitted for approval to the Bankruptcy Court.

RESOLVED, that the form, terms, and provisions of the Interim DIP Order to which each
Company is or will be subject, and the actions and transactions contemplated thereby be, and
hereby are authorized, adopted, and approved, and each of the Authorized Signatories of each
Company be, and hereby is, authorized and empowered, in the name of and on behalf of each

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Company, to take such actions and negotiate or cause to be prepared and negotiated and to execute,
deliver, perform, and cause the performance of, the Interim DIP Order.

RESOLVED, that each Company, as debtors and debtors in possession under the Bankruptcy Code
be, and hereby is, authorized to incur the Adequate Protection Obligations, including granting liens
on its assets to secure such obligations.

Waiver of Notice of Meeting

RESOLVED, that each of the members of the board of managers, board of directors, the sole
member, or the managing member, as applicable, hereby irrevocably waives notice of the time,
place and purposes of the Meeting and any adjournments thereof, to the extent such notice is
required by the applicable organizational documents of each Company.

General

RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Signatories, each of the Authorized Signatories (and their designees and delegates)
be, and they hereby are, individually authorized and empowered, in the name of and on behalf of
each Company, to take or cause to be taken any and all such other and further action, and to
execute, acknowledge, deliver, and file any and all such agreements, certificates, instruments,
and other documents and to pay all expenses, including but not limited to filing fees, in each case
as in such Authorized Signatory’s judgment, shall be necessary, advisable, convenient or
desirable and to make any changes to the documents approved hereunder as the Authorized
Signatories shall approve, such approval to be conclusively evidenced by such Authorized
Signatory’s execution and delivery thereof, in order to fully carry out the intent and accomplish
the purposes of the Resolutions adopted herein.

RESOLVED, that each Governing Body of each Company has received sufficient notice of the
actions and transactions relating to the matters contemplated by the foregoing resolutions, as may
be required by the organizational documents of each Company, or hereby waive any right to have
received such notice.

RESOLVED, that all acts, actions, and transactions relating to the matters contemplated by the
foregoing resolutions done in the name of and on behalf of each Company, which acts would have
been approved by the foregoing resolutions except that such acts were taken before the adoption
of these resolutions, are hereby in all respects approved and ratified as the true acts and deeds of
each Company with the same force and effect as if each such act, transaction, agreement, or
certificate has been specifically authorized in advance by resolution of each Governing Body.

RESOLVED, that each of the Authorized Signatories (and their designees and delegates) be, and
hereby is, authorized and empowered to take all actions or to not take any action in the name of
each Company with respect to the transactions contemplated by these resolutions hereunder, as
such Authorized Signatory shall deem necessary or desirable in such Authorized Signatory’s
reasonable business judgment as may be necessary or convenient to effectuate the purposes of the
transactions contemplated herein.
                                               ***
                                                 6
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                          Schedule I

                 Company                               Jurisdiction
                 Acosta, Inc.                           Delaware
           Acosta Frontline, LLC                        Delaware
      Acosta Military International, Inc.               Delaware
         Acosta Military Sales, LLC                     Delaware
            Acosta Services, Inc.                        Florida
      Acosta Subsidiary Holdings, Inc.                  Delaware
          Actionlink Services, LLC                      Delaware
             ADW Acosta, LLC                           Washington
               ADW UK, LLC                             Washington
       AMG Marketing Services, LLC                      Delaware
             Anna Holdings, Inc.                        Delaware
      Anna Acquisition Company, Inc.                    Delaware
        Mosaic Canada Holdings Inc.                     Delaware
       Mosaic Employee Holdco, LLC                      Delaware
        Mosaic Parent Holdings Inc.                     Delaware
Mosaic Sales Solutions US Operating Co., LLC            Delaware
       The Vine Direct Agency, LLC                      Delaware
         Vine Parent Holdings, LLC                      Delaware
         Acosta UK Holdings, LLC                        Delaware
              AC Holdings, Inc.                          Florida
